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                                                                                                       Charles S. Davant
                                                                                                     954.414.0401 direct
                                                                                                    csd@davantlaw.com




   Via E-Mail Only

   October 17, 2019

   Captain Christopher Moale
   Captainkris1@yahoo.com

   Re:            Claim of Christopher Moale
                  Vessel: 2001 52’ Cantieri Marchi
                  Claimant: Captain Kris Moale
                  Policy Number: YKR Y08713911
                  Date of Incident: 10/22/2018

   Dear Mr. Moale,

   We write you with regard to a claim you have made for alleged injuries sustained while working
   on the 2001 52-foot Cantier March (the “Yacht”) or about on October 22, 2018. Please be advised
   that the undersigned has been retained by Chubb to represent the Yacht and her owners with regard
   to your claim. As you are aware, our office attempted to discuss this matter with you via telephone
   on or about September 9, 2019. Another individual answered the phone and advised that you
   retained attorney Michael Moore to represent you for this claim. Immediately upon being advised
   of Mr. Moore’s retention, we advised that neither our office nor Chubb may discuss this matter
   with you unless you and your counsel provide permission. If you are no longer represented by Mr.
   Moore or any other attorney, please advise. Otherwise, we will continue to discuss the claim with
   your representatives.

   After our attempted call to you, we spoke with Mr. Moore, who advised that he was awaiting
   production of documents from you to support your claim. Thereafter, we sent Mr. Moore a letter
   dated September 12, 2019 summarizing our conversation and reiterating our request for certain
   information and documentation, as the only documents produced to date are the documents
   originally submitted by you to the owners and the insurers of the Yacht. The Yacht and her owners
   have reimbursed, and continue to reimburse, you for any and all submitted medical expenses
   incurred to date. A copy of this September 12, 2019 letter is attached hereto. We have yet to receive
   a response or any of the requested documentation.

   The Yacht, her owner and insurers take this claim seriously and are exercising reasonable diligence
   to investigate your claim in good faith. See Vaughan v. Atkinson, 369 U.S. 527, 82 S.Ct. 997
   (1962). In compliance with these duties, it is necessary for us to conduct a thorough review and
   analysis of the claims made by you. Therefore, we hereby request that you produce any and all
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   medical records in your possession from the last ten years, including any all medical records and
   bills related to this incident. Alternatively, enclosed herewith, please find blank authorization
   forms, wherein you can identify your prior and/or current treating physicians and provide authority
   for us to obtain your records directly. In order to fully and fairly evaluate your claim, we also
   request production of any other documents related to the subject incident, your injuries, your
   employment on the Yacht, and all documents that support any claims you to make, including your
   recent demand for payment of $55 per day for Maintenance and Cure.

   We also reiterate our prior request for a recorded statement in furtherance of our efforts to
   diligently investigate your claims in good faith. Please contact us to coordinate this recorded
   statement.

   The above are preliminary requests made in an effort to investigate your claims as quickly as
   possible. As we continue to investigate this claim in good faith, we may send further requests for
   information and production of documents. We look forward to your response to the above. Please
   let us know of any questions you may have in the interim.

   Respectfully,




   Charles S. Davant

   Cc:    Michael Moore, Esq.

   Enclosure: as stated.
